UNITED STATES DISTRIC'I` COURT
WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION

YETI Coolers, LLC

 

_vs_ Case No_: l :lS-cv-00608-RP

 

Marolina Outdoor, Inc. d/b/a HUK and
Kryptek Outdoor Group, LLC

 

MOTION FOR ADMISSION PRO HAC VICE

 

TO THE HONORABLE .IUDGE OF SAID COURT:

Comes now Mi€llaelKl'aShill , applicant herein, and

 

moves this Court to grant admission to the United States District Court for the Westem District of

Texas pro hac vice to represent YETI Co°lers» LLC in this case, and would

 

respectfully show the Court as follows:

l. Applicant is an attorney and a member of the law firm (or practices under the name of`)

Banner & Witcoff, Ltd.

 

with offices at

 

 

Mailing address; Ten South Wacker Drive, Suite 3000
City, State, Zip Code; Chicago, Illinois 60606-7407
Telephone: (312) 463-5000

 

Facsimjle; (312) 463-5001

 

Since 11/10!2005 , Applicant has been and presently is a member of and in

 

good standing with the Bar of the State of Illinois .

Applicant’s bar license number is 6286637

 

Applicant has been admitted to practice before the following courts:

 

 

 

 

Court: Admission date:

NDIL; wI)wI 1112!2006; 10/21/2008
EDWI; Fed. Circuit 10,*'26,-"2009; 1!20;'2|}10
Sixth Circuit; Ninth Circuit 12/'13/2007; lill;"2007

 

 

 

 

Applicant is presently a member in good standing of the bars of the courts listed above,
except as provided below (list any court named in the preceding paragraph before which

Applicant is no longer admitted to practice):

None

 

Applicant has never been subject to grievance proceedings or involuntary removal
proceedings while a member of the bar of any state or federal court, except as provided
below:

None

 

Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,
except as provided below (omit minor traffic offenses):

None

10.

Applicant has read and is familiar with the Local Rules of the Western District of Texas and

Will comply with the standards of practice set out therein.

Select one:

|:| Applicant has on file an application for admission to practice before the United
States District Court for the Western District of Texas.

Applicant has co-counsel in this case who is admitted to practice before the United
States District Court for the Westem District of Texas.

Co_counsel: Joseph J. Berghammer

 

Mai]ing address: Ten South Wacker Drive, Suite 3000

 

City, State, Zip Code; Chicago, lllinois 60606-7407

 

Telephone: (312) 463'5000
Should the Court grant applicant’s motion, Applicant shall tender the amount of $ 1 00.00
pro hac vice fee in compliance with Local Court Rule AT-l(t)(l) [checks made payable
to: Clerk, U.S. District Court].
Should the Court grant applicant's motion, Applicant shall register as a filing user within 10
days of this order, pursuant to Administrative Policies and Procedures for Electronic Filing

in Civil and Criminal Cases in the Westem District of Texas.

Wherefore, Applicant prays that this Court enter an order permitting the admission of

Michael Krashin to the Western District of Texas pro hac vice

 

for this case only.

Respectfully submitted,

Michael Krashin

 

[printed name of Applicant]

t i/\/\/’l£

[signature of Applicant]

CERTIFICATE OF SERVICE

 

l hereby certify that I have served a true and correct copy of this motion upon each
attorney of record and the original upon the Clerk of Court on this the 30 day of

Julv , 2018

Michael Krashin

 

[printed name of Applicant]

f/u hz_-

 

[signature of Applicant]

